Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 1 of 61

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Miami Division 9 § = QO 0 1 4
CIV-ATKINS

INTERNATIONAL LONGSHOREMEN'S

 

ASSOCIATIONS, LOCAL 1416, ON ITS CASE NO.

BEHALF AND ON BEHALF OF ITS Magistrate JMAGHSTRATE JUDGE

MEMBERS, JOHNSON.
Plaintiff, NOTICE OF REMOVAL

V. A‘

ii
inne ft
/

JAN 5 1998

CARLOS JUENKE
CLFRY U.S DIS. CT.
SD. OF FIA MIAMI

 

MIAMI-DADE COUNTY,

Defendant.

 

 

 

 

To the Judges of the United States District Court for the Southern District
of Florida:

The petition of Miami-Dade County respectfully shows:

1. On the 15th day of December, 1997, an action was commenced
against petitioner in the Circuit Court of the 11th Judicial District in and for
Miami-Dade County, Florida, entitled International Longshoremen's Association,
Local 1416, on its behalf and on behalf of its members, Plaintiff, against
Miami-Dade County, Defendant, docket no. 97-28308 CA 04, by the service
upon petitioner of a summons and complaint, copies of which are annexed

hereto. No further proceedings have been had therein.

\
FE IMANOLO SHAE
OFFICE OF COUNTY ATTORNEY, DADE COUNTY FLORIDA °

TELEPHONE (305) 375-515!
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 2 of 61

Page 2

2. The above described action is a civil action of which this court has
original jurisdiction under the provisions of Title 28, United States Code, Section
1331, and is one which may be removed to this court by petitioner, defendant
therein, pursuant to the provisions of Title 28, United State Code, Section 1441,
in that it appears from the plaintiff's complaint that this is a civil action which
arises under the Constitution of the United States, Article |, Section 9, and
Article 10, Section 1, and the Fifth and Fourteenth Amendments. The action is
one arising under these provisions of the United States Constitution, in that the
plaintiff has alleged that an ordinance passed by the Miami-Dade County
Commission governing individuals employed at the Port of Miami with felony
convictions violated the Equal Protection and Due Process Clauses of the
United States Constitution, as well as the prohibition against Ex Post Facto laws
contained therein.

WHEREFORE, petitioner prays that the above action now pending
against it in the Circuit Court of the 11th Judicial District in and for Miami-Dade

County, Florida, be removed therefrom to this Court.

ROBERT A. GINSBURG

Dade County Attorney

Stephen P. Clark Center, Suite 2810
111 N.W. 1st Street

Miami, Florida 33128-1993

(305) 375-5151/Fax (305) 375-5634

By: DAer/l Ce

Jesq M. McCarty
Assistant County attorney
Florida Bar No. 0073873

2

FP UMACOLO SAM

OFFICE OF COUNTY ATTORNEY, DADE COUNTY FLORIDA
TELEPHONE (305) 375-SI5I
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 3 of 61

Page 3

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy of the foregoing was

Ae Sa naa v9 od
mailed this 4 day of December, ho to: Neil Flaxman, Esq., 550 Biltmore

Way, Suite #780, Coral Gables, Florida 33134.

Assiftant County Attorney

3

J UMANOIO SAM

OFFICE OF COUNTY ATTORNEY, DADE COUNTY FLORIDA
TELEPHONE (305) 375-S151
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket —: 61

 

 

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT, IN AND FOR DADE COUNTY. FLORIDA. \
IN THE COUNTY COURT IN AND FOR DADE COUNTY, FLORIDA.

{ | ted

 

CIVIL ACTION SUMMONS CASE NUMBER

 

 

3

CIVIL DIVISION Personai Service on a Natural Person. a7 2 8 3 0 8 cB 04
(En Espanoi ai Dorso) (Francais Au Versa}

PLAINTIFF(S) VS. DEFENDANT(S) CLOCK IN Jes

! “2 Sf

INTERNATIONAL LONGSHOREMEN'S
ASSOCIATION, LOCAL 1416,
ON ITS BEHALF AND ON METROPOLITAN DADE COUNTY
BEHALF OF ITS MEMBERS

yr LO oy

 

 

 

 

To Defendant(s): Metropolitan Dade County! Address: Serve: Mayor Alex Penelas

111 NW 1 St., 29th Floor
Miami, FI

 

 

 

A lawsuit has been filed against you. You nave 20 calendar days after ihis summons § Served on you
to file a written response to the attacned Complaint with the clerk of this court. A chone cail will not protect you: your
written response, including the case number given above and the names of the parties. must be filed if you want the Court
to sear your side of the case. !f you co not file your response on time. you may icse ithe case, and ycur wages, money
and property may thereafter be taken without further warning from ine Coun. There aré other .egai requirements. You
n attorney ight away. if you do not know an attorney. you May Cal i an atcrney referral service or ‘eqai

mee
may want tc call an

aid office (listea in the pnone “pook).
if you choose to fie a written response yourself. at ine same ume you file your written esconse to the
Count ‘located at

Neh ne

W

Dade County Courthouse
Clerk of Courts
Room 138
73 West Flagler Street
Miami, Florida 33130 -

Additionai Court locations are printed on the back of this form.

You must also mail or take a copy of your written responses to the “PlaintifffPlaintitis Attorney’
named below.

Dey
~ ‘iy

 

Plaintiff/Plaintitf Attorney Address 2 -

NETL FLAXMAN, PA 550 BILTMORE WAY, SUITE # 780
CORAL GABLES, FLORIDA 33134

 

 

TO EACH SHERIFF OF THE STATE OF FLORIDA: You are commanded to serve this Summons and a copy of the Com-
olaint of this lawsuit on the above named defendant.

 

 

DATE
Court

<GCH&ROD WOON Seal ,
BY: DEE 15 1997

DEPUTY CLERK

CLERK OF COURTS

 

 

 

CUR/CT72 YB9 wera Dace S3auat Use

 
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 5 of 61

INTERNATIONAL LONGSHOREMEN’S
ASSOCIATION, LOCAL 1416, ON ITS
BEHALF AND ON BEHALF OF ITS
MEMBERS,

Plaintiff,
V.

METROPOLITAN DADE COUNTY,

Defendant.

IN THE CIRCUIT COURT OF THE 11™
JUDICIAL CIRCUIT, INAND FOR
DADE COUNTY, FLORIDA

GENERAL JURISDICTION DIVISION
CASE NO.

97-28308 CA04

 

COMPLAINT

COMES NOW the Plaintiff, INTERNATIONAL LONGSHOREMEN’S ASSOCIATION,

LOCAL 1416, ON ITS BEHALF AND ON BEHALF OF ITS MEMBERS, (ILA) and sues the

Defendant, METROPOLITAN DADE COUNTY (County), and states:

1. This is an action for declaratory judgment and supplemental relief in

accordance with Chapter 86 Fla. Stat., and a claim for rights guaranteed by

the United States Constitution, the State of Fiorida Constitution, Florida

Statutes and the Dade County Code.

2. This court has jurisdiction pursuant to §86.021, Fla. Stat. and Fla. R.Civ.P.

1.630.

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION

wn

LITE 7T2OQ ® 550 BILTMORE WAY. CORAL GABLES, FLORIDA 33134 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 6 of 61

3. Plaintiff ILA is a labor union, as defined by the National Labor Relations Act
and represents and refers to work in such capacity the individuals who have
felony convictions or findings of guilt associated with felonies within the last
ten years, (affected individuals), as well as other individuals it refers to work
at the Port of Miami.

4. Defendant County is a political subdivision of the State of Florida and is the
final policy maker with regard to the enactment and implementation of the
ordinance complained of.

5. On or about September 23, 1997, Defendant County enacted Ordinance 97-
161, a copy of which is attached hereto as Exhibit "A". The relevant portions
of the ordinance which affects the affected individuals is as follows:

(f) No applicant who, within the last ten (10) years, (i) has had a felony
conviction or (ii) against whom a finding of guilty has been entered, shall be
issued an identification card, unless such applicant is an employee, agent,
independent contractor or servant of a common carrier, motor carrier or
private carrier of property by motor vehicle as those terms are defined in
Section 28A-1(22) above. Notwithstanding the foregoing, the terms of this
subsection 28A-5.3(f) shall not apply to any applicant for a Seaport
identification card who has held a full time position at the Seaport, in good
standing for a period of twenty four (24) consecutive months, as of
September 30, 1997.

(g) Any applicant for a Seaport identification card who falls within the exclusion
enumerated in the last sentence of subsection 28A-5.3(f) above, who within
the last ten (10) years either (i) has had a felony conviction or (ii) against
whom a finding of guilty has been entered, relating to any felony involving
(a) theft, (b) smuggling, (c) the usage, possession, or trafficking of narcotics
or any other controlled substance, (d) dishonesty, fraud, or
misrepresentation, or (e) any violent crime committed with a weapon, shall
be ineligible to receive a Seaport identification card.

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
SuITE TBO *® 550 BL ™MORE WAY. CORAL GABLES, FLORIDA 33134 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 7 of 61

(h) | Any employee denied an identification card based on subsection (g) above
may appeal the decision to an appeals committee, provided the employee
has (i) only one felony conviction, or (ii) multiple felony convictions related
to the same act or occurrence, within the last ten (10) years. An employee
denied an identification card based on two or more unrelated felony
convictions within the last ten (10) years shall not be entitled to an appeal
under this subsection. The appeals committee shall consist of five members,
the Director of the Metro-Dade Police Department, the Special Agent in
charge of the U.S. Customs Service in Miami, the Special Agent in charge
of the U.S. Drug Enforcement Administration in Miami, the Port Director, and
a union representative. The appeals committee shall determine whether the
employee shall be issued an identification card based on procedures issued
by the County Manager in an administrative order.

6. The affected individuals have been employed at the Port of Miami for varying
periods of time without incident related to any criminal wrongdoing affecting
their work.

7. The affected individuals are employed at the Port of Miami under the terms
and conditions of a collective bargaining agreement, which, among other

things, creates an employment relationship that provides:

A. Termination only for cause

B. A substantial wage

C. Pension benefits

D. Health and welfare benefits for the affected employee and their

spouses and dependents.
8. Absent the employment opportunity afforded the affected individuals at the
Port of Miami, there is no comparable employment for the affected

individuals.

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
SUITE 7BO * S550 BILTMORE WAY, CORAL GABLES, FLORIDA 33134 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 8 of 61

9. Plaintiff ILA and the affected individuals have no adequate remedy at law
and will suffer irreparable harm if the ordinance is enforced in that there is
a substantial likelihood that such affected individuals will not be issued
identification cards and, therefore, be precluded from working at the Port of
Miami and, in addition to suffering financial loss, will suffer loss of dignity,
future employment, pension opportunities and health and welfare benefits
for himself/nerself, his/her spouse and dependents to the extent applicable.

10. A case or controversy exists in that the ordinance is the law within the
County and its implementation is immediate.

11. As aresult of the enactment of the ordinance, Plaintiff ILA and the affected
individuals have been placed in doubt as to their rights under the ordinance
in that Plaintiff ILA and the affected individuals believe that, for the reasons
set forth herein, the ordinance is void, invalid and/or unenforceable.

COUNTS
VIOLATION OF FLORIDA STATUTES AND DADE COUNTY CODE

12. Plaintiff ILA realleges the allegations of Paragraphs 1 through 11.

13. At the time of second reading of the ordinance, such ordinance was adopted
on condition made by floor amendment that such ordinance have an appeal
process for the benefit of the affected individuals.

14. Without further public hearing, an appeal process was made part of the

ordinance, specifically Section 28A-5.3(F)(G) and (H) of the ordinance.

4

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
SUITE 7BO * 550 SILTMORE WAY. CORAL GABLES, FLORIDA 33134 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 9 of 61

15. Chapter 166 Fla. Stat., as well as the Dade County Code provide for
advertisement and public hearing before an ordinance becomes final.

16. | Such advertisement and public hearing as to the ordinance did not occur
since the floor amendment" to allow an appeal process was a substantial
revision of the ordinance and such revision was neither before the
Defendant County nor advertised, nor part of the public hearing process,
contrary to the Florida Statutes and the Dade County Code.

17.  Asaresult of Defendant County's failure to comply with Florida Statutes and
the Dade County Code, the ordinance is void and of no effect.

WHEREFORE, as to Count |, Plaintiff requests:

A. That the court enter a temporary injunction prohibiting the enforcement of the
ordinance.
B. That upon final hearing, the court enter a final judgment declaring the

ordinance void.
C. Such other relief as to the court is proper under the circumstances.
COUNT I!

VIOLATION OF THE EQUAL PROTECTION UNDER
THE UNITED STATES AND STATE OF FLORIDA CONSTITUTIONS

18. Plaintiff ILA realleges the allegations of Paragraphs 1 through 11.
19. Plaintiff ILA and the affected individuals are entitled to those rights afforded
individuals in accordance with the United States and State of Florida

Constitutions, inclusive of Section 12 of the Declaration of Rights of the

5

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
STE TBO * 550 BILTMORE WAY, CORAL GABLES, FLORIDA 33134 ® (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 10 of 61

Florida Constitution and the Fourteenth Amendment to the United States
Constitution.

20. Defendant County, being a political subdivision of the State of Florida, is
obligated to afford all individuals equal protection under the Constitution of
the United States and the State of Florida.

21. Defendant County, acting under color of law and through its County
Commission, as its policy maker, denied to Plaintiff ILA and the affected
individuals equal protection under the law by enacting the ordinance in that

such ordinance:

A. Singles out the Port of Miami as the sole geographic area under the
ordinance.
B. Targets individuals who have had felony convictions regardless of the

nature of the conviction.

C. Relates back to a time of ten (10) years from conviction or finding of
guilt, without regard to the date of occurrence.

D. Fails to incorporate a meaningful grandfather provision for the
protection of the affected individuals, who have worked at the Port of
Miami without incident.

E. Creates a more stringent standard for employment at the Port of
Miami than any other occupation within Dade County, inclusive of
police and fire rescue personnel.

F. Fails to create a rational basis for exclusion related to its purpose.

6

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
SoITE TBO © S50 BILTMORE WAY, CORAL GABLES, FLORIDA 33134 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 11 of 61

G. Fails to have appropriate appeal criteria.

22. Anyor all of the foregoing, as set forth in Paragraph 21, having no rational
basis to the prevention of crime related to the Port of Miami.

23. Anyor all of the foregoing, as set forth in Paragraph 21, creating an arbitrary
classification as it relates to members of the Plaintiff ILA, as compared to
other employees generally.

24. The ordinance constitutes arbitrary, oppressive governmental activity, which
adversely affects the life, liberty and property rights of the Plaintiff and the
affected individuals.

WHEREFORE, as to Count il, Plaintiff ILA requests:

A. That the court enter a temporary injunction prohibiting the enforcement of the
ordinance.
B. That upon final hearing, the court enter a final judgment declaring the

ordinance void, voidable or unenforceable as enacted.

C. Plaintiff be awarded its attorneys’ fees and costs.
D. Such other relief as to the court is proper under the circumstances.
COUNT II

VIOLATION OF THE DUE PROCESS CLAUSE UNDER
THE UNITED STATES AND STATE OF FLORIDA CONSTITUTIONS

25. Plaintiff realleges the allegations of Paragraphs 1 through 11.
26. Plaintiff ILA and the affected individuals are entitled to those rights afforded

individuals in accordance with the United States and State of Florida

7

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION

SUITE 720 © S50 SILTMORE WAY, CORAL GABLES, FLORIDA 33/34 *® (305! 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 12 of 61

Constitutions, inclusive of those rights guaranteed by Article | Section 9 of
the Florida Constitution and the Fifth and Fourteenth Amendment of the
United States Constitution.

27. Defendant County, being a political subdivision of the State of Florida, is
obligated to afford all individuals due process under the Constitution of the
United States and the State of Florida.

28. Defendant County, acting under color of law and through its County
Commission, as its policy maker, denied to Plaintiff ILA and the affected

individuals due process under the law enacting the ordinance in that such

ordinance:

A. Singles out the Port of Miami as the sole geographic area under the
ordinance.

B. Targets individuals who have had felony convictions regardless of the

nature of the conviction.

C. Relates back to a time of ten (10) years from conviction or finding of
guilt, without regard to the date of occurrence, or the nature of the
felony.

D. Fails to incorporate a meaningful grandfather provision for the
protection of the affected individuals, .wno have worked at the Port of
Miami without incident.

E. Creates a more stringent standard for employment at the Port of

Miami than any other occupation within Dade County, inclusive of

8

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION

UITE PAO © S50 BILTMORE Way, CORAL GABLES, FLORIDA 33134 *# '305) 445-1388

Ww
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 13 of 61

police and fire rescue personnel.
F. Fails to create a rational basis for exclusion related to its purpose.
G. Fails to have appropriate appeal criteria.

29. + Ataill times relevant hereto, the affected individuals had a property right in
their employment at the Port of Miami.

30. The taking from the affected individuals of their employment by the
ordinance is discriminatory, arbitrary, oppressive, overly broad and does not
bear a reasonable relation to a permissible legislative objective and creates
a substantive violation of due process.

31. In addition to the above, the ordinance is procedurally defective in that the
appeal process in the ordinance crates no guidelines or standards for review
of a denial of an identification card and provides to some of the affected
individuals (those that have two felony convictions within ten years) no
method of appeal.

WHEREFORE, as to Count Ill, Plaintiff requests:

A. That the court enter a temporary injunction prohibiting the enforcement of the
ordinance.
B. That upon final hearing, the court enter a final judgment declaring the

ordinance void.

C. Plaintiff be awarded its attorneys’ fees and costs.
D. Such other relief as to the court is proper under the circumstances.
9

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION

SUITE 7B8O * 550 BILTMORE WAY, CORA GABLES, FLORIDA 33134 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 14 of 61

COUNT IV
EX POST FACTO VIOLATIONS

32. Plaintiff ILA realleges the allegations of Paragraphs 1 through 11.

33. Plaintiff ILA and the affected individuals are entitled to those rights afforded
individuals in accordance with the United States and State of Florida
Constitutions, inclusive of Article |, Section 10 of the Florida Constitution and
Article 1, Section 9, Clause 3, Article 10, Clause 1 of the United States
Constitution.

34. Defendant County, being a political subdivision of the State of Florida, was
prohibited from enacting any law which penalizes longshore workers for acts
done long ago, the proper function of regulation being to guide and control
present and future conduct.

35. Defendant County, acting under color of law and through its County
Commission and as its policy maker, enacted an ex-post facto law by
enacting the ordinance for the following reasons:

A. The ordinance reaches back in time to punish the affected individuals
for acts which occurred before enactment of the ordinance;

B. Although the ordinance serves as a regulation to control present and
future employment at the Port of Miami, it, in addition, penalizes
longshore workers for acts done long ago by stripping them of their

employment and benefits associated therewith.

10

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
SUITE TBO * S50 BILTMORE WAY, CORAL GABLES, FLORIDA 33/34 * (305) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 15 of 61

36. To the extent that the ordinance is ex-post facto, such portion of the
ordinance should be stricken, specifically those provisions which in any way concern
individuals employed at the Port of Miami on the date the ordinance became effective, to-
wit: ten (10) days from September 23, 1997.

WHEREFORE, as to Count IV, Plaintiff requests:

A. The court enters a temporary injunction prohibiting the enforcement of those

sections of the ordinance which are in fact ex-post facto.

B. That upon final hearing the court enter a final judgment striking those

portions of the ordinance which are ex-post facto.

C. That Plaintiff ILA be awarded its attorneys’ fees and costs.

D. Such other relief as the court deems proper under the circumstances.

NOTICE OF POTENTIAL AMENDMENT

In the event the ordinance is implemented and damage is suffered by the Plaintiff

and/or its members, Plaintiff gives notice that it will be filing an amended complaint to

include a claim under 42 U.S.C. §1983, inclusive of a claim for attorneys’ fees.

NEIL FLAXMAN, P.A.
Attorney for Plaintiff

550 Biltmore Way, #780
Coral Gables, FL 33134
Tel: (305) 445-1388 .*
Fax: (305) 443-0279 —

4

 

’ / Nee ey
By i¢ \ Va ;
Neil Flaxman ee

1]

LAW OFFICE OF NEIL FLAXMAN PROFESSIONAL ASSOCIATION
SUITE FAO # S50 BILTMORE WAY, CORAL GABLES, FLORIDA 33134 # (305! 445-1288
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 16 of 61

STATE OF FLORIDA )
COUNTY OF DADE )

BEFORE ME, the undersigned authority, this day personally appeared Clarence
Pitman, President of International Longshoremen’s Association, Local 1416, who being
first duly sworn, deposes and says that the allegations of this complaint are true and
correct to the best of his knowledge and belief.

ae

Clarence Pittman

SWORN TO AND SUBSCRIBED before me this 4 ay of December, 1997.
a

 

“Notary Public

 

OFFICIAL NOTARY SEAL
ALINA M PADRON
NOTARY PUBLIC STATE OF FLORIDA
COMMISSION NO. CC496749
Lat COMMISSION EXP. SEPT 19,1999

 

UNION\1416\METRO\COMPLAINT

12

LAW OFFICE OF NZiL FLAXMAN PROFESSICNAL ASSOCIATION

suite 780 © 550 SILTMOSE WAY, CORAL GABLES, FLORIDA 33'34 #305!) 445-1388
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD DéAgkeided/06/1998 Page 17 of 61

 

Approved Mayor Agenda Item No. 4(G)
Override

ORDINANCE NO. 97-161

ORDINANCE AMENDING SECTION 28A OF THE CODE OF
METROPOLITAN DADE COUNTY, FLORIDA; AMENDING
SEAPORT SECURITY PROVISIONS; ELIMINATING
GRANDFATHER CLAUSE REGARDING ISSUANCE OF
SEAPORT IDENTIFICATION CARDS; PROVIDING
SEVERABILITY, INCLUSION IN THE CODE, AND AN
EFFECTIVE DATE

BE IT ORDAINED BY THE BOARD OF COUNTY COMMISSIONERS OF

DADE COUNTY, FLORIDA:

Section 1. Section 28A of the Code of Metropolitan Dade County, Florida, is hereby

amended to read as follows:'

CHAPTER 28A SEAPORT SECURITY AND
OPERATIONS

Sec. 28A-1. Legislative intent.

The intent of the County Commission in enacting this
chapter is to accomplish the following goals and purposes at the
Port of Miami:

(1} Improve security.
(2) Retain certain of the present identification procedures, and

adopt certain new procedures providing greater security
protection.

 

Words stricken through and/or [[double bracketed]] shall be deleted. Words underscored
and/or >>double arrowed<< constitute the amendment proposed. Remaining provisions are now

in effect and remain unchanged.
CAWINDOWS\TEMPS2\6 26.54
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 18 of 61

(3)

(4)

(5)

Amended
Agenda Item No. 4(G)
Page No. 2

Curb theft and fraud within Dade County relating to goods
or merchandise constituting freight or cargo within the Port
of Miami.

Establish rules and regulations governing seaport security
and operations.

Preserve the public peace by preventing crime, detecting,
arresting and prosecuting violators of Chapter 28A of the
Code of Dade County, and protecting the rights of persons
and property within Dade County.

Sec. 28A-2. Definitions; applicability of chapter provisions;

disclaimer of liability; right of access of public
officers, etc.; use and enjoyment of premises;
offenses and penalties.

28A-2.1. Definitions. Words not specifically defined in this
Section 28A-2 which relate to maritime and shipping industries or
practices, processes and equipment shall be construed according to
their general usage in the shipping industry.

(1)

(2)

(3)

(4)

CAWINDOWS\TEMP3 2426SAM

Area of cargo operations and ACO shall mean that portion
of the Port of Miami (also known as the "port terminal
facility") which is primarily devoted to the holding and
handling of cargo and freight, and which the Director
designates as an area in which limited ingress and egress is
required for the safety, protection or security of the public
and the cargo and freight within it.

Authorized shall mean acting under or pursuant to a written
contract, license, permit, instruction or other evidence of
right issued by the>>_Board or the<< Manager or his
designee.

Board shall >>mean the Board of Coun mmissioners of
Metropolitan Dade County, Florida<<[[be-synenymeus-with
County-Cemmissien] |.

Cargo shall mean the load, lading, goods or merchandise
conveyed or consigned for transit upon any vessel or vehicle
or stored at a port terminal facility.
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 19 of 61
Amended
Agenda Item No. 4(G)
Page No. 3

(5) Carrier of freight shall mean any person who is engaged or
holds himself out as willing to be engaged in carnage of
freight or passenger baggage by water or land between any
point in the port and a point outside the port.

(6) Checker shall mean any person employed to verify freight
loaded, off-loaded or stored at the port, particularly freight
handled by longshoremen. The term shall include foremen
and crew leaders.

(7) | Commercial activity shall mean (a) the shipping,
transferring, exchanging, trading, buying, hiring, or selling
of commodities, goods, services, freight or property of any
kind on the port, (b) engaging in any conduct on the port
for revenue-producing purposes, whether or not revenues
ultimately are exchanged, obtained, or transferred on the
port, or (c) the offering or exchange of any service on the
port as a part of, or condition to, other revenue-producing
activities or services on or off the port.

(8) Department shall mean the Metropolitan Dade County
Seaport Department.

(9) Director shall mean the administrative head of the Seaport
Department, appointed by the County Manager, or the
assistant or acting Director.

(10) Freight shall mean cargo and passenger baggage carried,
consigned or stored at any port terminal facility.

(11) Law Enforcement Officer shall mean any person employed
and vested with the police power of arrest under federal,
State or County authority.

(12) Longshoreman shall mean an employee of a stevedore or
stevedoring firm at the port whose work consists of the
freight loading or unloading of vessels at the port or the
movement of freight incidental to, mmediately prior to, or
following such loading or unloading of a vessel.

CAWINDOWS\TEMP3IV626.SAM
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 20 of 61

(13)

(14)

(15)

(16)

(17)

(18)

(19)

CAWINDOWS\TEMPS 2026.54 ME

Amended
Agenda Item No. 4(G)
Page No. 4

Motor vehicle shall mean a device in, upon or by which a
person or property may be propelled, moved or drawn upon
land or water. However, a device moved solely by human or
animal power, or aircraft, or a device moved exclusively
upon stationary rails or tracks shall be defined as a

"Vehicle," rather than as a "motor vehicle."

Operational directives shall refer to instructions, directives,
rules and regulations pertaining to the operation of the Port
of Miami, >>including Port of Miami Tariff No. 10 as
amended,<< prepared and promulgated from time to time
by the Director. When approved by the Board of County
Commissioners, these operational directives shail have the
same force and effect as County ordinances.

 

Operator, with respect to a vehicle or motor vehicle, shall
mean any person in actual physical control thereof.
"Operator," with respect to maritime or shipping services,
shall mean any person carrying on the business of furnishing
wharf, dock, warehouse or other terminal services or
facilities.

Owner shall mean a person holding legal title to a vehicle or
motor vehicle, or in the event that such vehicle is the subject
of a mortgage, conditional sale or lease, then the person in
whom the immediate right of possession thereof is vested.

Person shall be as defined in Section 1.01(3), Florida
Statutes, and shall include municipal, governmental and
public bodies and their agents, when such bodies or agents
are using the port terminal facility.

Port shall mean the Port of Miami and shall include Dodge
Island, and port terminal facility, and that area described as
the "Miami Harbor" in the "Port of Miami Terminal Tariff,"
or any amendment thereto (issued by the County Manager
under Administrative Order No. 4-4, pursuant to Section
4.02 of the Home Rule Charter).

Port terminal facility shall include, but not be limited to:
harbor, channel, turning basin, anchorage area, jetty,
breakwater, waterway, canal, lock, tidal basin, wharf, dock,
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 21 of 61

(20)

(21)

(22)

CWINDOWS\TEMPS 2042 5.SAM

Amended
Agenda Item No. 4(G)
Page No. 5

pier, slip, bulkhead, public landing, warehouse, terminal,
refrigerating and cold storage plant, railroad and motor
terminal for passengers and freight, rolling stock, railroad
connection, sidetrack or siding, car ferry, pipeline, shop,
administrative building, booth or office, tunnel, causeway,
bridge, fence, parking lot, conveyors and appliances of all
kinds for the handling, storage, inspection and
transportation of freight and passenger traffic, whether
between land and water or between two (2) vessel carriers.

Port watchman shall mean any watchman, gateman,
roundsman, private investigator, guard, guardian or
protector of property (whether employed by any person,
carrier of freight, or the Department) to perform services in
such capacity on any portion of the port, but shall not mean
any Law Enforcement Officer.

Restricted area shall mean [[that-pertion-efthe]] >>all<<
area>>s<< of cargo operations >>and _cruise operations,

including (1) cruise passenger baggage terminals and

(2) cruise passenger loading areas and all areas locked or
pasted as restricted areas.<< [Twhieh posted by the

 

part ee

Shipping industry shall refer to the movement of persons
and property by water, and the means by which such
movement is accomplished, and shall include, but not be
limited to, the following:

(a) | Common carrier by water as defined in the Shipping
Act of 1916, as amended, in 46 U.S.C. 801,

(b) | Common carrier as defined in the Interstate
Commerce Act, as amended, 49 U.S.C. 1, when
engaged in the transport of cargo or freight to or
from a port terminal facility,

(c) Motor carrier and private carrier of property by
motor vehicle as defined in the Interstate Commerce
Act, as amended, in 49 U.S.C. 303, when engaged in
Case 1:98-cv-00014-WPD

(23)

(24)

(25)

(26)

CAWINDOWS\TEMP32\626.SAM

(d)

(e)

(f)

(g)

))

Document 1 Entered on FLSD Docket 01/06/1998 Page 22 of 61

Amended
Agenda Item No. 4(G)
Page No. 6

the transport of cargo or freight to or from a port
terminal facility,

Air carrier, foreign air carrier and agent as defined
in 49 U.S.C. 1301 when engaged in the transport of
cargo or freight to or from a port terminal facility,

Vessel as defined in the Shipping Act of 1916, as
amended, 46 U.S.C. 801,

Forwarding or forwarder as defined in 46 U.S.C.
801 and 49 U.S.C. 1002(5),

Employees, agents, servants or independent
contractors of the above, and

Any person (including any governmental body)
carrying on the business of furnishing a wharf, dock,
warehouse or other port terminal facility in

connection with any of the above.

Stevedore shall mean a contractor (but not including
employees thereof) who for compensation moves, agrees to
move, consigns or agrees to consign freight on a vessel,
whether publicly or privately owned, at a port terminal
facility that lies between a point in the port and a point
outside the port. "Stevedore" shall also include a contractor
(but not including employees thereof) who for
compensation, performs or agrees to perform labor or
services incidental to the movement of freight on a vessel at
a port terminal facility, such movement of freight shall
include the movement of freight into or out of containers
which have been, are being or will be carried on vessels.

Taxicab shall mean any such term as defined in Section
31-81 of the Code of Metropolitan Dade County.

Traffic shall refer to pedestrians, vessels and vehicles, while
operating within any port area.

Waterborne freight shall mean freight carried or consigned
for carriage on a vessel.
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 23 of 61
Amended

Agenda Item No. 4(G)
Page No. 7

(27) Parking enforcement specialist shall mean any department
employee who successfully completes a training program
established and approved by the Police Standards and
Training Commission and is certified by the Commission to
be a parking enforcement specialist.

(28) Port security officer shall mean any individual employed by
the Department for the purposes of maintaining security at
the port.

(29)  For-hire passenger motor vehicle, and limousine shall mean
such terms as defined in Section 31-81 of the Code of
Metropolitan Dade County. "Passenger motor vehicle" shall
mean such term as defined in Section 31-102 of the Code of
Metropolitan Dade County.

(30) For purposes of this Chapter 28A, "passenger van" shall
mean a passenger motor vehicle designed to accommodate
no more than eleven (11) passengers, exclusive of the
driver.

(31) For the purposes of this Chapter 28A, "minibus" shall mean
a passenger motor vehicle designed to accommodate
between twelve (12) and twenty (20) passengers, exclusive
of the driver.

. (32) For purposes of this Chapter 28A, “bus” shall mean a
~ passenger motor vehicle designed to accommodate no less
than twenty-one (21) passengers, exclusive of the driver.

(33) Courtesy car, courtesy van, and courtesy vehicle shall mean
"courtesy vehicle" as defined in Section 25-1.1 of the Code
of Metropolitan Dade County, except that the word airport
shall be substituted by the word port, as defined in Section

28A-2.1.
>>(34) Abandon _shall_mean_to forsake, de ive_up and

surrender one's claim or right.

(35) County shall_mean the County of Dade in the State_of
Florida,

CAWINDOWS\TE MP3 3\626.5AM
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 24 of 61

Amended
Agenda Item No. 4(G)
Page No. 8

(36) Domestic animal shall mean any animal of a species usually

domesticated in the United States and customarily found in
the home.

(37) Explosives shall mean any chemical compound or mixture
that_has the property of vielding readily to combustion or
oxidation upon lication of heat, flame or shock, or an
device, the primary purpose of which is to finction by
explosion, The term "explosives" includes, but is not limited
to, dynamite, nitroglycerine, trinitrotoluene, ammonium

nitrate when combined with other ingredients to form _an
explosiv ixture, or other high ¢ losty detonators

safety fuses, squibb onating cor iter_cords and
igniters. Explosives shall_not include. shotgun _ shells,
cartridges or ammunition for firearms,

(38) Weapon shall mean a gun, knife, blackjack, slingshot, metal
knuckles, or any explosive device, or any other like
instrument capable of being utilized to coerce, intimidate or
injure an individual.

(39) Wild animal shall mean any animal of a species not usually

domesticated in the United States nor customarily found in
the home.<<

 

28A-2.2. Applicability of Chapter 28A provisions.

>>(a)<< Any permission granted to a person >>,_corporation,
partnership, or other legal entity <<by the Board, County
Manager or Director, directly or indirectly, expressly or by
implication, to enter upon or use the port, including the area
of cargo operations>>_and restricted areas<<, is conditioned
upon compliance with Chapter 28A>>_and_ operational
directives<< and the payment of any and all fees or charges
established and payable to the County; such fees and
charges shall include any and all fees or charges established
or approved by the Board >>or the Man er,<<

 

of the County for] >>and entry upon or into Port property
by_any person shall be deemed to constitute an agreement
by such person to comply with such rules and regulations

CAWINDOWS\TEMP3IVU26SAM

JO
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 25 of 61

Amended
Agenda Item No. 4(G)
Page No. 9

and to pay any such fees and charges<<([services-rendered

   
    

to-pay-fees-and-charees-es-eforesaid]],

>>(b) It shall be unlawful for any person to do_or commit any act
forbidden by or to fail to perform any act required by these
tules and regulations or to fail to pay any fees established
and payable pursuant to Chapter 28A.

(c) The Department, through its Director, may from time to
tume_cause to be issued operational directives applicable to
any port property. If any such operational directive

contains a requirement that fees or charges be paid for any
operation on of use of a port facility or pr as defined

in the o tional directive h fe har; all be

established_in_accordance with the provisions of Chapter
28A.<< :

28A-2.3. Port liability, The County assumes no responsibility or
liability for any loss, injury or damage to persons or property at the
port, nor in connection with the use of a port terminal facility. The
placing of property of any nature, including freight on seaport
property pursuant to port tariff, shall not be construed, under any
circumstances, as a bailment of that property by Dade County; and

- Dade County, its officers, employees and agents shall not be
considered as bailees of any property whatsoever. °

28A-2.4. Access of public employees and >>law_<<enforcement
officers. Department employees and law enforcement officers shall
have free and full access to and from any and all places and things
on the port to make inspections and/or enforce the provisions of
this chapter. No person shall obstruct or interfere with any Law
Enforcement Officer or any designated Department employee
conducting such inspection and/or enforcement or in the
performance of any other power or duty required of such officer or
employees. Provided, however, that such free and full access shall
be subject to all appropriate federal statutes and regulations

CAWINDOWS\TEMPST\426.SAM

//
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 26 of 61

Amended
Agenda Item No. 4(G)
Page No. 10

enforced by the U.S. Customs Service or other agency of either
state or federal governments.

[[28A-2-3-—Use-and_enjoyment-of port prentises-

 

28A-2.>>5<<[[6]. Offenses and penalties. Every person who
violates any provision of Chapter 28A shall be punished by a fine
. not to exceed five hundred dollars ($500.00), or imprisonment in
the Dade County Jail for a period of not more than six (6) months,
or both; provided, however, that parking and pedestrian violations
shalt be punished by a fine not to exceed [[Sfy—dellars
€$50-00)]]>>the maximum allowable fine prescribed by the Laws of

the State of Florida and/or the Code of Metropolitan Dade County,
Florida<<.

>>28A-2.6, Emergencies. The Director i Ww ak:
such action as the Dir deems n when em

exists a_port facility or pro which, in the Director's

judgment, presents an immediate threat to public health, security,

safety or w or to the tion of a facility or pro

provided, however, that in the exercise of such power the Director
shall promptly notify the governmental agency(ies) or County

C:\WINDOWS\TE MP3 2.4 26.SAM

/?
‘ Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 27 of 61

Amended
Agenda Item No. 4(G)
Page No. 11

department(s) having been assigned by the Board or Coun
Manager primary responsibility for the handling and resolution of
such emergency, and provided further that the Director's power

herein granted shall cease upon the assumption of jurisdiction over
such emergency _by the governmental agency(ies) or Coun

department(s) and such assumption of responsibility shall not be
inconsistent with the requirements of any emergency procedure or
program for a port facility or property adopted and approved by the
Board. _No_action shall knowingly be taken by the Director
hereunder_or by any County department(s) contrary to any
regulation or order of the Federal, State, or County agency having
appropriate jurisdiction. -

28A-2.7. Trespassing. Whoever, without being fully authorized,
licensed _or invited, wilifully enters or remains at a port facility or
property, or a portion thereof, or having been authorized, licensed
or invited to a port facility or property, or portion thereof, is
warmed or ordered by authorized Department personnel or a law
enforcement officer to depart, and refuses to do so, commits the
offense of trespass.

28A-2.8. Other laws, All applicable provisions of the laws of the

State of Florida, now in existence or hereafter enacted, are hereby
adopted by reference as part of these mules and regulations,

28A-2.9. Jurisdiction. The violation of any provision hereof shail
be triable in the Dade County Court.

28A-2,10, Sevarability. If any provision of these rules and
regulations or the application thereof to any person or
circumstances is held invalid, the remainder of these rules and

regulations and the application of such provision to_other_ persons
i hall not be h <<

Sec. 28A-3. Procedures governing the area of cargo
operations and >>other<< restricted areas.

28A-3.0. Access. No person shall enter a>>n<< [[earge]] area >>of
cargo operations<< or >>other<< restricted area unless >>clearly
displaying an identification card allowing for such access or<< first
being authorized to do so by >>the_Director, a designee’ of the

Director, or a law enforcement officer.<<-ffa-pert-seeurity-_officer

C:AWINDOWS\TEMP3 2426544

 

/2
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 28 of 61

Amended
Agenda Item No. 4(G)
Page No. 12

er—a—Metre-Dade—Potice—O ficer-]] >>Notwithstanding the

foregoing, this section 28A-3.0 shall not apply to properly ticketed
cruise_vessel passengers engaged in cruise vessel_embarkation or

disembarkation.<<

28A-3.1. Consent to inspection. Any vehicle or motor vehicle, and
the contents thereof, entering, departing from or being within the
area of cargo operations >>or_other restricted area <<shall be
subject to inspection by the Director, Departmental employees, or
any Law Enforcement Officer for the purposes of determining
ownership of such vehicle, the contents thereof, and for examining
the documentation relating to the said contents; such inspection
shall be subject to the rules and regulations of the U.S. Customs
Service related to bonded cargo and customs seals. The operation
or use of a vehicle or motor vehicle by any person into, from or
within the area of cargo operations or a restricted area of the port
shall constitute the consent of the owner, operator or user of such
vehicle to the aforesaid inspection.

28A-3.2. Inspections. No person shall enter [[the]] >>an<< area of
cargo operations or >>other<< [[a]] restricted area>>s<< of the
port except persons who enter pursuant to Section 28A-5, >>cruise
vessel_passengers_ engaged in cruise vessel embarkation or
disembarkation,.<<or employees of federal, State or local
government bodies then having proper business thereon and bearing
proper identification >> required by the provisions of this Chapter
28A. <<No person entering or attempting to enter, being within, or
‘. departing from or attempting to depart the area of cargo operations
' or restricted area of the port shall refuse to produce for inspection
at the request of the Director or Department employee or any Law
Enforcement Officer a Department identification badge and/or the
contents of any vehicle, bag, case, parcel, box or container of any
kind in his possession. Where the entry into or departure from or
attempt thereof is by means of a vehicle or motor vehicle, no person
shall refuse to produce for inspection, after such request, a driver's
license or department vehicle permit. No person shail refuse to
produce at the request of the Director or Department employee or
any Law Enforcement Officer any document in his possession
relating to the ownership or possession of freight within the area of
Cargo operations or any restricted area.

C:WINDOWS TEMPS 2\424. SAME

f
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 29 of 61

Amended

Agenda Item No. 4(G)
Page No. 13

28A-3.3. Control of vehicular traffic. Control of all vehicular
traffic on the port shall be governed by the laws of the State of
Florida, the Code of Metropolitan Dade County and operational
directives. No person shall enter, operate or cause to be operated
any vehicle or motor vehicle in the area of cargo operations or any
restricted area unless such entrance or operation is required for a
cargo, passenger or business activity within such area fferH
>>and<< is [[an-aetivity-efer]] authorized by the Department. No
person shall operate any vehicle or motor vehicle within the area of
cargo operations or a restricted area without a vehicle or motor
vehicle identification decal as prescribed by Section 28A-4.

28A-3.4. Parking.

(a) No person shail park any vehicle or motor vehicle within the
port in areas other than those designated or authorized by
the Director or by operational directive, or in any other
manner contrary to any posted Department sign, traffic
control device or pavement marking. No person shall park
any vehicle or motor vehicle within the port in a manner that
will interfere with the use of a facility or area by others or
obstruct passage or movement of emergency vehicles or
other vehicles.

(>) Parking, to the extent available, may be provided for
personnel employed in the area of cargo operations>>_or
other restricted area <<, but will be restricted to areas

- designated by the Director. >>It_shall be a violation of the
provisions of this Chapter for such personnel to park a
vehicle in any area other than those expressly designated by
the Director.<<

(c} | Whenever any vehicle or motor vehicle is improperly or
illegally parked or positioned as to obstruct traffic, or is
reasonably likely to cause a hazard to the health or safety of
persons lawfully on the property, or impedes or is likely to
impede the movement or handling of freight or passengers
by reason of its position or condition, or is apparently
abandoned on the port (as defined in Chapter 705, Florida
Statutes), then the Director, his agents or a Law
Enforcement Officer may remove the offending vehicle or
motor vehicle.

C:A\WINDOWS\TEMP3 2\636.SAM

/5
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 30 of 61

Amended
Agenda Item No. 4(G)
Page No. 14

(d) The owners of vehicles or motor vehicles removed pursuant
to subsection 28A-3.4(c) may reclaim same and shall be
required to pay appropriate charges accrued against such
vehicle for parking, removal and storage on the port.

(e) Parking enforcement specialists >>_and_law enforcement
officers <<are hereby authorized to issue uniform parking
tickets. If the vehicle is unattended, the ticket may be
attached to the vehicle in a conspicuous place. The owner of
said motor vehicle must answer to the charge placed against
him within thirty (30) days as provided in Section 30-389.2
of this Code.

Sec. 28A-4. Identification permit for vehicles and motor
vehicles.

28A-4.1. Vehicle and motor vehicle identification generally. Any
person employed at the port on a permanent basis and driving a
motor vehicle onto port premises and all persons owning>>,
leasing, or operating<<one (1) or more vehicles or motor vehicles
operating on the port and entering into>> or<< [[end]]departing
from the ACO or a restricted area (other than cruise vessel
passengers engaged in vessel embarkation or disembarkation) shall
Obtain and maintain a current identification permit for each vehicle
from the Department. Such permit may be a numbered decal
reflecting the authorization to enter into the ACO or restricted area.

>> Application for such permit must be accompanied by copies of

the vehi tio f in: the applicant's
driver's li wi the driver's li f anticipated
operators of such vehicle or motor vehicle. <<The completed

application for such permit (one (1) for each vehicle or motor
vehicle) shall be submitted in duplicate on a form designed by Dade
County. The owner or operator of such vehicle shall cause the
permit to be permanently affixed to the vehicle or motor vehicle for
which the permit was issued, and in a manner and place specified by
the Director, so that it shall be plainly visible. Such permits shall be
renewed by the vehicle or motor vehicle owner in a manner

prescribed by the Director, annually [[erfer-sueh-greater-pertod-as
the-Direeter-determinesonthe-date-ef er] before its expiration.

CAWINDOWS\TEMP32\4626.S4AM

/@
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 31 of 61
Amended
Agenda Item No. 4(G)
Page No. 15

28A-4.2. Temporary vehicle, motor vehicle and construction
vehicle identification permit.

(a) A temporary limited identification permit, in the form of a
pass, may be issued by the Director to the operator of a
vehicle or motor vehicle for occasional or one-time access
to a specific area within the area of cargo operations or
restricted area or for a vehicle or motor vehicle engaged in
construction activities within the port and approved by the
Director. An owner of such vehicle shall obtain a permit at
the Director's office or at the area of cargo operations upon
approval by the Director. When issued it shall identify the
vehicle or motor vehicle >>operator, operator's address,
operator's driver's license number and issuing state <<and be
valid only for the area designated, parking area (if any) and
duration stamped on its face. The owner and operator of
such vehicle shall cause it to be plainly visible at all times on
the vehicle or motor vehicle to which it is issued. The
permit shall be returned at the control gate when departing
from the area of cargo operations or restricted area or at the
Director's office when departing from other portions of the
port.

(b) A record of such temporary permits shall be maintained at
. the control gate. Any vehicle or motor vehicle operator who
enters or who operates a vehicle or motor vehicle within the
area of cargo operations more than five (5) times during a
‘. four-week period on a temporary permit may be denied a
temporary identification permit and be required to obtain a
permanent identification permit therefor.-

28A-4.3. Report of changes in data in application for vehicle or
motor vehicle permits. The owner, as defined in subsection
28A-2.1(16), shall report, in writing, to the Director or the office
where the identification permit was originally processed, certain
changes in the data on any application for a temporary, permanent,
or construction vehicle, or motor vehicle permit within thirty (30)
days of any of the following changes, namely:

(1) New vehicle license plate (tag or decal) number,

CAWINDOWS\TEMP3Z\26.SAMd

/7
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 32 of 61

Amended
Agenda Item No. 4(G)
Page No. 16

(2) Any change in data on vehicle registration certificate or
driver's license of applicant;

(3) Sale or other disposition of the registered vehicle, including
the name and address of the transferee of any interest
therein;

(4) | Change of vehicle color, motor or title number;

(5) Loss or damage to permanent, temporary or construction
vehicle or motor vehicle permit;

(6) Change of regularly assigned place of employment[[-exeept
fortengsheremen-and-cheekers |];

(7) Change of applicant's employer[[exeept-fortongsheremen
and-cheekers]]; or

(8) Change in home address or business address of owner of the
registered vehicle.

Failure to report such changes by an owner or operator within
[[thirey3-9}]]>>ten_(10)<< days of the change will result in the
suspension of the current >>vehicle <<identification permit >>and

shall cause operator's access to area of cargo operations or restricted
area to be revoked <<until the change information is furnished.

False statements in the change information shall be a violation of
Chapter 28A.

28A-4.4. Identification of commercial or leased vehicles or motor
vehicles.

(a) All owners and operators of commercial vehicles or motor
vehicles operated or used within the port shall comply with
Section 8A-276, Code of Metropolitan Dade County.

(b) Before any leased vehicle or motor vehicle is authorized
entry into the area of cargo operations or any restricted
area, the operator thereof upon demand by the Director or
Department employee or any Law Enforcement Officer shall
comply with Section 28A-4 hereof and shall also present a

CAWINDOWS\TEMPI2\626.5AM

/§
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 33 of 61

Amended
Agenda Item No. 4(G)
Page No. 17

legible copy of the agreement authorizing the use of the said
vehicle by the operator or his employer.

28A-4.5. Ground transportation.

(a) Any taxicab licensed pursuant to Section 31-82 of the
County Code and for which a permit issued under Section
31-93(d) of the County Code is current and valid shall have
the right to transport persons and their baggage from the
Port of Miami.

(b) Except for taxicabs as set forth in (a) above, no person shall
transport another person or baggage by mini-bus, bus,
passenger van, limousine, or any other passenger motor
vehicle, or courtesy vehicle from the port, or engage in
commercial activity on the port, without a valid permit
issued by the Director and payment of any fee established in
the Port of Miami Terminal Tariff.

(c) It shalt be unlawful for the operator of any motor vehicle to
park in the ACO or any restricted area or in any loading
zone for any longer period than is necessary to load or
discharge persons or baggage.

(d) No person shall operate a motor vehicle contrary to posted
signs.

” (e) No person shail solicit or engage in the rental car business
on the port without a valid permit issued by the Director
and payment of any fee established in the Port of Miami
Terminal Tariff.

(f) Nothing contained herein shall be construed to authorize the
operation of a passenger motor vehicle or courtesy vehicle
in violation of any other provisions of the Code of
Metropolitan Dade County, specifically including but not
limited to Chapter 31.

Sec. 28A-5. Identification cards for persons.

28A-5.1. Persons who may enter area of cargo operations or
restricted area. No person, >>other_than cruise vessel passengers

C:\WINDOWS\TEMP32\426.SAM

(7
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 34 of 61

Amended
Agenda Item No. 4(G)
Page No. 18

engaged in the process of cruise vessel embarkation _or
disembarkation,<< [[unless—pessessing—an—identification—card—or
etherwise—autherized—under—Chapter—28A,]] shall have entry to
([the]] >>any<< area of cargo operations or>>any<<restricted area
>>unless__such person __possesses__a__current__Seaport-issued
identification card authorizing such access _or whose _access_is
otherwise expressly authorized under Chapter 28A. Identification
cards shall be wom conspicuously on the outer_garment_of the
bearer, in plain view above the waist.<<

>>28A-5.2 Plan for Issuance. The Director shall devise, maintain
and, as required, revise a plan for the issuance of identification
cards to all port employees and non-port employees working on the
Port. Such plan shall provide various levels of security clearance
based on the security requirements of distinct areas of the port.

Such plan shall provide for ready identification of various clearance
levels, based on card color: green for port employees: red for
non-port employees with security access to restricted areas; blue for
non-port_emplo wt to_non-restrict ublic access
areas; and white for non-port temporary employees which require
no more than five days access to Port property: or such other color
scheme as may be designated by the Director,

With the exception of temporary identification cards, each
identification card shall:

(a) Be issued for a period not t o(2

(b) Contain a photo of the cardholder,

(c) Oo a physical description of the cardholder, to include
but_not be limited to height, weight, and date of birth of
cardholder,

(d) in the name, title, and employer, or in th of a

port employee the employing department and division or
section, of cardholder; and

(e) Contain a unique serial number not to be repeated. on any
other identification card.<<

 

CAWINDOWS\TEMP3S 2626 SAM
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998

Amended
Agenda Item No. 4(G)
Page No. 19

28A-5 [[2]]>>3<<. Application.

(a)

C:\WINDOWS\TEMP32\426.SAM

The application for an identification card [Lthat-will permit 3

 

restricted areal) i is to be a 3 public record filed i in writing and
shall contain the applicant's:

(1)

Full >>current<< name >>and_any previous names
and aliases used<<;

(2) >>Current_residential address and _all residential

(3)
(4)

(5)

(6)

(7)

addresses__within the past five (5) years<<
[[Residence]];

Date and place of birth;

Current employer >>and_any previous employer
within the past five (5) years<<[[;— except for

 

eheekers]];

“Social Security number >>and driver's license

number as well as copies of each<<,;

- Specific reason for entry into the area of cargo

operations or restricted eal eee and

   
 

cheekers]]; [fend}]

A photo of applicant taken >>by the Department a
the time of application submission<<[[within—the
previeusthirty G0} days-]]>>;

Authenticated _fingerprints__on an identification
record form furnished by the Director of the Metro
Dade Police Department;

Prior felony convictions or entries of findings of

guilt (whether pursuant to_a plea of guilty or nolo
contendere or a judgment of conviction entered by a
court of competent jurisdiction):

Jl

Page 35 of 61
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 36 of 61

Amended
Agenda Item No. 4(G)
Page No. 20

(10) Signed authorization for the Director to conduct a
criminal or other background check on the applicant;

(11) For_non-port employees, signed affidavit from
employer_attesting that_employer_has conducted a
background investigation of the employee and that
all facts contained within the application is truthful.
Such background investigation will be stored by the

employer for a period of not less than five (5) years
and be made available to the Director or law

enforcement officers upon request, and

(12) Signatures of applicant, Director or Director's
designee, and employer for non-port employees or
immediate supervisor for port employees.<<

(()

 
   

pert 4

>>(b) Pending final action on an application for_an identification
card, the Director may issue a temporary identification card
to non-port employees.

(c) In addition to the information required in subsection (a)
. above, the Director may require the applicant to produce

such further facts and evidence as may be necessary to
determine whether_or not the applicant possesses the

qualifications necessary for an identification card.<<

(d) The making of a false statement in the application for an
identification card under this section shall be grounds for
refusal to issue the card and also shall be a violation of
Chapter 28A.

>>(e) The Director may conduct_or require a criminal and/or

financial background check on any applicant, and_may
conduct or require such other background checks as the

Director deems necessary,

CAWINDOWS\TEMPS 2\626.SAAd

ad
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 37 of 61
Amended
Agenda Item No. 4(G)
Page No. 21

***(f) No applicant who, within the last ten (10) years, (i) has had
a felony conviction or (ii) against whom _a finding of guilty

has been entered, shall be issued an identification card
unless such applicant is an employee, agent, independent
contractor or servant of a common carrier, motor carrier or
private carrier of property by motor vehicle as those terms

are defined in Section 28A-1(22) above. Notwithstanding -
the foregoing, the terms of this subsection 28A-5. 3 shall

 

 

standing, for a period of twenty-four (24) con peat
months, as of September 30, 1997. .

(zg) Any applicant for_a Seaport identification card who falls
within the exclusion enumerated in the last sentence of
subsection 28A-5.3(f) above, who within the last ten (10)
years either (i) has had a felony conviction or (ii) against
whom a finding of guilty has been entered, relating to any

felon involvin a the smuggli c) the usage

 

misrepresentation, or (e) any violent crime committed with a

weapon, shall be ineligible to receive a Seaport
identification card

 

 

(h) Any employee denied _an_ identification card based _on
subsection (g) above may appeal the decision to an appeals

‘ committee, provided the employee has (i one felon
convicti r (ii) multiple felony convictions related to the

r within the | an (10 __An

employee denied an identification card based _on two or

lated felony convictions within last ten (10

itled t a thi ion

i sh: 1 five m th

‘Di M D lice D ial

A in ch: f the U.S, Cu ice i i, th

Special Agent in charge of the U.S. Drug Enforcement
Administration in Miami, the Port Director, and a union

representative, The appeals committee shall determine
whether the employee shall be issued _an identification card
based_on procedures issued by the County Manager in an
administrative order.<<

CAWINDOWS\TEMP32\426.SAMd

2D?
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 38 of 61

Amended
Agenda Item No. 4(G)
Page No. 22

([)]]>>(<< The Director shall issue said identification card after the
applicant has met the requirements of Section 28A-5.

28A-5 .[[3]]>>4<<. Identification card for persons.
>>Identification cards issued by the Department shall at all times
remain the property of the County, As such, the Department shall
at_all times have the right to confiscate or demand return of the
identification card of any person who violates the provisions of this
chapter and to demand the return of the identification card of all
persons employed by a company violating this chapter_or whose
lease, permit or license agreement with the County allowing use of
the port has expired or has been canceled or is terminated, <<The
identification card shall be valid for one (1) year from the date of
issuance, unless sooner canceled or surrendered. Any holder of
such card who is not required to enter the area of cargo operations
or other restricted area for forty-five (45) consecutive days (but
excluding periods of illness, vacations or strikes) shall surrender his
identification card to the Director without necessity for demand;
failure to surrender the card shall be a violation of Chapter 28A of
the Code of Metropolitan Dade County. Application for or
acceptance of a card or pass under Sections 28A-5.3 or 28A-5.6 or
entry into the area of cargo operations or other restricted area by
any person shall subject such person to the reporting requirements
of Section 28A-5.4.

28A-5.[[4]]>>5<<. Report of changes in data on aoplication for
* identification card for a person. Any hvider .¢ a personal
identification card shall >>immediately<< report in writing to the
Director >>any_felony arrests, convictions, or findings of guilt, and,
<<within t>>en<<[[hirty]] (>>1<<[[3]]0) days of the change >>of <<
any [[ehenges-in]jdata in an application for a personal identification
card. Failure to report such changes within the time provided or the
making of a false statement in any change in information submitted
shall constitute grounds for temporarily or permanently suspending

the use of the card >> ; << [[unti i ;

eorrectiy-reported;|]false statements >>or_material omissions <<in
the change information shail be a violation of Chapter 28A.

CAWINDOWS\ TEMPI7\626.SAM
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 39 of 61

Amended
Agenda Item No. 4(G)
Page No. 23

28A-5.[[S]]>>6<<. Denial of identification card. An application
for an identification card to enter into the area of cargo operations
or other restricted area shall be denied by the Director if the
applicant refuses to answer or falsely answers any question listed in
Sections 28A-5.2 or 28A-5.4, or refuses to produce documents to
verify statements made on the application.

 

CAWINDOWS\TEMPS2\426SAAL

o>
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 40 of 61

Amended
Agenda Item No. 4(G)
Page No. 24

28A-5.[[9]]>>7<<. Identification card or pass for a person: Loss,
transfer, alteration or possession of altered identification cards,
passes or department documents.

(a) A person who has lost his >>or_her<< valid identification
card, after identifying himself >>or_herself<< to the
satisfaction of the Director, shall be issued a [[temperary

 

than-eight-(8)-calendardays—S]]>>new identification card
after_s<<uch person [(shall]] submit>>s<< a sworn,
completed application for a replacement card and, upon
payment of a{[my]] replacement charge [[(established—by
operational directive) ]) >> vot fifteen £315. 00) dollars sell

 

pass]]

(b) An identification card for a person shall not be transferable
at any time for any purpose.

(c) No person shall retain or have in his >>or_her<< possession
>>and_shall_ promptly retum to the Director, <<any card,
permit, pass, badge or other means of identification issued
by the Director after it has expired or when such person is

no longer employed on the port>>_or_upon request by the

Director that it be returned or when otherwise required by
7 ordinance or otherwise<<. Such retention shall constitute a

violation of Chapter 28A of the Code of Metropolitan Dade
County.

(d) No person shall forge, counterfeit, alter, erase, obliterate or
transfer any identification card, permit, pass, lease, record,
form, badge or other instrument or document issued’ or
maintained by the County Manager or Director, pursuant to
Chapter 28A. No person shall have in his possession any
forged, counterfeited, altered, erased, obliterated or
transferred identification card, permit, pass, lease, record,
form, badge or other instrument or document issued or
maintained by the County Manager or Director pursuant to
Chapter 28A.

CAWINDOWS\TEMP3 2426 SAM
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 41 of 61
Amended
Agenda Item No. 4(G)
Page No. 25

(e) In the event that any person who has an application on file
for an identification card enters an area of cargo operations
or a restricted area without valid identification card or being
otherwise authorized, such person may have the
identification card or other authorization under Chapter 28A
suspended or revoked.

Sec. 28A-6. Licensing and permits for stevedores.

28A-6.1. Dade County stevedore licenses. Pursuant to Florida
Statutes, Chapter 311, no person, as defined by Section 1. 01(3),
Florida Statutes, shall act as a stevedore within Dade County,
Florida, without first having obtained a stevedore license from the
board after examination. The application for a stevedoring license
shall be made by a natural person only and shall be submitted under
oath to the Director for consideration by the County Manager. The
County Manager shall present the application with his
recommendation to the Board. No person shall employ a stevedore
to perform services as such within the Port of Miami or within
Dade County, Florida, unless such stevedore is licensed by the
Board. The issuance of a Dade County stevedore license shall not
automatically entitle the holder thereof to perform stevedoring
services at or with the Port of Miami.

28A-6.2. Port of Miami stevedore permits. No person, as defined
by Section 1.01(3), Florida Statutes, shall act as a stevedore within
the Port of Miami without first having obtained a stevedore permit
from the Director upon application therefor. The application for a

- stevedoring permit for the Port of Miami shall be made by a natural
person only and shail be submitted under oath to the Director. The
Director shall examine the qualifications of the applicant and shall
issue the permit only if the criteria established in Section 28A-6 are
met.

28A-6.3. Application for County stevedore license and Port of
Miami stevedore permit.

(a) Each application for a County stevedore license or Port of
Miami stevedore permit shall be filed together with a
personal character form furnished by the County Manager
or the Director and completed and sworn to .by the
applicant.

CAWINDOWS\TEMPS 2\426SAM

A/
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 42 of 61

Amended
Agenda Item No. 4(G)
Page No. 26

(b) The applications for the County stevedoring license and the
Port of Miami stevedore permit shall require the applicant
to report in writing >>any <<{[his]] affiliation([;+fery]], as
an employee, partner, associate, officer, trustee, director or
owner >>of_greater than a 20 percent (20%) share<<
(directly or indirectly) >>of_or<< [[with]] any person,
corporation, partnership, joint venture, association, firm,
business trust, syndicate, municipal or other governmental
body which may directly or indirectly be involved with the
shipment or handling of freight. If so affiliated, the
application must be accompanied by a written list of such
affiliations and the names and addresses of persons or
members of any such corporation, partnership, joint venture,
association, firm, business trust, or syndicate. The name
and address of each person holding a controlling financial
interest in the corporation, partnership, joint venture,
association, firm, business trust, or syndicate, according to
the definition of “controlling financial interest" contained in
Section 2-11.1(b)(8), Code of Metropolitan Dade County,
shall bé provided by the applicant, and shall be kept current
on an annual basis.

28A-6.4. Procedure for obtaining County stevedore license and/or
Port of Miami stevedore permit.

(a) A County stevedore license application shall be obtained at
the office of the Director, where, upon completion, it shall
be returned. The Director shall forward it to the
[[Bepartment—of—Publie—Safety]]>>Metro Dade _ Police
Department<<. [[Follewing—serutiny—and—proeessing,
t}]]>>T<<he [[Depertment-of Publie-Sefety]]>>Metro Dade Dade

Police Department<< shall >>scrutinize_and_process the
application _and<< return it to the Director>>with_a

recommendation to either_ac or reject the lication.
The Director shall in turn>>[[;-whe—shell]] forward his

recommendations with the application to the County
Manager for his consideration pursuant to Section 28A-6.1.

(b) A Port of Miami stevedore permit application shall be

obtained from the office of the Director, where; upon
completion, it shall be returned. The Director shall forward

C:WINDOWS\TEMPI2\426 SAM

Ab’
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 43 of 61
Amended
Agenda Item No. 4(G)
Page No. 27

it to the [[Department—of-Publie—Sefety]]>>Metro Dade
Police Department<<. Following scrutiny and processing,
the [[Depertment_of-PublieSafety]]>>Metro Dade Police
Department<< shall return it to the Director [[fer-his-further
eonsideration]]>>with a recommendation to either accept or
reject the application<<. The Port Director, in making his
determination as to the issuance or denial of the permit,
shall make findings as to the need or lack of need for such
permit.

(c) The County Manager and the Seaport Director shall, after
examination, issue stevedore licenses and permits to
competent and trustworthy persons in such numbers as they
deem necessary for the efficient operation of the county
waterfront and Port of Miami facilities. The criteria for
issuance shall include, but shall not be limited to, the
following:

(1) The physical ability of the port, the waterways, and
- the Miami River facilities, respectively, to handle the
vessel(s), passengers, freight or support services
necessary therefor, which may be proposed by the
applicant, including plans (if any) approved by the
Board for proposed facilities expansion,

(2) The total and peak quantities of passengers or
freight;

(3) The frequency of dockings,

(4) Special demands upon or savings to the County,

(5) The inability or refusal of license or present permit
holders, respectively, to adequately serve new or
existing business;

(6) The financial strength of the applicant, including the

ability to secure insurance, indemnity and
performance bonds,

(7) The pendency or entry of any proceeding, judgment
or order of any court or regulatory body respecting

C:AWINDOWS\TEMP32\426.SAM
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 44 of 61

Amended
Agenda Item No. 4(G)
Page No. 28

the ability of the applicant, its affiliates, and/or its
principals or operating offices to conduct a
stevedoring business;

(8) The experience of the applicant, its affiliates,
principals or operating officers;

(9) Efficient operation of the port, having due regard for
the business of the port, harbor and channels.

28A-6.5. Denial of County stevedore license or Port of Miami
permit. A County stevedore license or Port of Miami permit shall
be denied to any person required to submit an application in Section
28A-6.3 upon the following grounds: entry of a finding of guilt as
to such person (whether pursuant to a plea of guilty or nolo
contendere or a judgment of conviction entered by a court of
competent jurisdiction) for any violation of Chapter 28A (except
Section 28A-3.4){[;]] or any felony ([invelving- passengers, car ge oF
ei cht-witheut-there-being-a—reste ights]|>>within

     

S

 

28A-6.[[F]]>>6<<. Duration. A Dade County stevedore license or
Port of Miami stevedore permit issued by the Board or Director,
respectively, shall each expire on January 15, 1979, at 12:00 noon;
each such license or permit shall expire on January fifteenth
annually thereafter. Upon expiration, a license of permit shall
automatically be renewed when the applicant complies with the
same requirements and procedures set forth in Sections 28A-6.1

CAWINDOWS\ TEMPS 2\626.SAM

20
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 45 of 61

Amended
Agenda Item No. 4(G)
Page No. 29

through 28A-6.8 for an original application >>and upon payment of
the annual fees required by Port of Miami Tariff No. 10 as
amended.<< Failure of any person to timely file an application for
renewal of a Dade County stevedore license or a Port of Miami
stevedore permit shall cause the same automatically to lapse.

28A-6.[[8]]>>7<<. Transfer of Dade County stevedore license or
Port of Miami stevedore permit.

(a) No stevedoring licenses or permits shall be transferable
except as follows: When a licensee or permittee shall have a
bona fide sale of the business which he is so licensed or
permitted to conducted, he may obtain a transfer of such
license or permit to the purchaser of the said business only if
the application of the purchaser shall be approved by the
Director [[er]]>>and_the<< Board under the same
procedures provided for in Sections 28A-6.1 through
28A-6 [[F]]}>>6<<.

(b) Immediately and automatically upon the death of a holder of

a stevedore license or permit, the license or permit shall

terminate; however, any insurance, bond, covenant,

indemnity, guarantee or monetary obligation to Dade

County arising from the stevedore business at or prior to

such death shall remain in full force and effect and shall be

binding upon the estate, any beneficiary, devisee, heir at

law, creditor or personal representative (as those terms are

i defined in Chapter 731, Florida Statutes, and particularly

- Section 731.201 {thereof]).

(c) Where a holder of a Port of Miami stevedore permit is the
only permit holder employed with a stevedore firm on the
port, but has no "controlling interest” (as defined in Section
2-11.1(6)(8), Code of Metropolitan Dade County) in the
firm, and the permit holder ceases to hold such permit, then
the Director shall give a preference in issuing the next
available permit to a natural person who is also employed by
said stevedoring firm and who files an application and
qualifies pursuant to Sections 28A-6.1 through 28A-6.7.

CAWINDOWS\TE MPI 24626 SAM

3/
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 46 of 61

Amended
Agenda Item No. 4(G)
Page No. 30

Sec. 28A-7. Review procedure.

28A-7.1. Application review. Any person aggrieved with the
decision of the Director or County Manager, with reference to the
written denial of an application for any permit, license or
identification card, may file a written request with the County
Manager within ten (10) days of the denial. Such person shall be
entitled to an appeal, to present evidence and witnesses in person or
by counsel and to appear before the >>Board<<[[Ceunty-Maneger
or—A arine—oface desienated—b Re eune Maneger]}]. The
decision of the >>Board<<[[Geunty Maneger]] on such appeal shall
be final. This section shall not apply to persons denied a Dade
County stevedore license or Port of Miami stevedore permit under
the provisions of Section 28A-6.4[[¢e)]]>>_and 28A-6.5<<.

  
   

28A-7.2. Reserved.
Sec. 28A-8. Identification.

28A-8.1. Identification cards. [[Adl-persens—requiredte—pessess

.

Q 0534 Ins o +4 ove

Peete S tt — WT Ge e
. :

     
 
       

it—]]Failure to produce
[[it]]>> identification _cards_by all persons required to possess
identification cards pursuant to Section 28A-5<< within the port
shall be cause for immediate removal from the port and shall be
grounds for such further actions as may be authorized by law.

28A-8.2. Persons exempted. This Section 28A-8 shall not be
applicable to any person who is a master, member of a ship's crew
or personnel of a ship's crew, when the ship is located within the
area of cargo operations, >>or_employee, agent, independent

contractor, or servant of a common carrier, motor carrier or private
carrier of property by motor vehicle as those terms are defined in

Section 28A-2.1(22) above, <<upon a showing of such
identification as may be required by the Director or authorized
Department personnel. This section is also not applicable to Law
Enforcement Officers in the course of their official duties.

 

C: “\WINDOWS\TE MP3 N426.SAM

3S
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 47 of 61
Amended
Agenda Item No. 4(G)
Page No. 31

>>28A-8.3. Duty to report violations. All law enforcement officers
and persons required to possess identification cards pursuant to
Section 28A-5 shail be under a continuing duty to promptly report
the presence of (1) any unauthorized persons in a restricted area

and (2) any unauthorized person on the port without a
conspicuously-placed identification card.<<

Sec. 28A-9. Freight security.

28A-9.1. Pickup or delivery. No person shall operate or use any
vehicle or motor vehicle in the area of cargo operations or other
restricted area to transport freight of any kind without an
identification permit. All such persons must have a written pickup
or delivery order pertaining to each vehicle or motor vehicle to be
loaded or unloaded in the ACO or other restricted area. The
aforesaid pickup or delivery order shall be a bill of lading or an
order form or on a letterhead of the firm owning the freight or of
the agent of the owner of the freight. Such order must be signed by
an officer of the company or person authorized to sign such an
order. Said order must describe the freight, the amount to be
loaded, the vessel and the bill of lading numbers and marks, if any,
on the freight. Any person not having such written order shall not
enter the area of cargo operations or other restricted area.

28A-9.2. Illegal loading. No person shall knowingly allow any
freight from the port to be loaded or carried aboard a vessel unless
it is properly documented and manifested as freight to be loaded on
that vessel.

28A-9.3. Missing freight, reports.

(a) Whenever any shortage or suspected shortage is discovered
as to any freight, an official company representative or
company supervisor in charge of the freight or its movement
at the time of the discovery of such shortage shail
immediately notify the [[Bade——Ceunty—Publie
Safety]]>>Metro Dade Police<< Department. Such official
company representative shall be responsible for giving all
pertinent information concerning such freight or movement
to the investigating Law Enforcement Officer and shall
render all reasonable assistance to [[him]]>>the officer<<.

CAWINDOWS\TE MPI 2\426. SAME

4>
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 48 of 61
Amended
Agenda Item No. 4(G)
Page No. 32

(b) The official company representative or supervisor in charge
of the cargo at the time the shortage is discovered shall,
within twenty-four (24) hours from the time of discovery,
complete an original and five (5) copies of the "Preliminary
Cargo Security Incident Report" form available in the office
of the Director. The original report shall be forwarded to
the Metro-Dade Police Department. The remaining copies
shall be distributed as indicated on the form.

(c) All Port of Miami stevedore permit holders shall, if they
have knowledge, >>immediately <<notify the >>Metro
Dade __ Police _ Department<<[[Direeter,——within—8
twenty-feur-heur- netice-peried,]] of the arrival or scheduled

arrival of any. shipment by land or water at the port of any
firearms, weapons, destructive devices, explosives, or
electric weapons or devices, as defined in Section 790.001,
Florida Statutes, or any. hazardous material, as defined in 49
U. S.C. 1802. >> Notification shall occur<<{[Sueh

Aty-four-he = period—shall amence]] with the
receipt of the freight by the stevedore with actual
knowledge of its contents, or with the receipt by the
stevedore of the freight manifest revealing the nature of the
freight, whichever occurs first. Failure of any Port of Miami
stevedore permit holder to notify the >>Metro Dade Police
Department<<[[Direeter]] as required herein — shall
constitute a violation of Chapter 28A of the Code of
Metropolitan Dade County.

 

 

28A-9.4. Seaport department fee for use of customs vehicle
inspection facility located at Port of Miami. Section 709 of the
Port of Miami Tariff No. 10 is hereby amended and restated as
follows: All vehicles which use the Seaport Department's Vehicle
Examination Facility for the purpose of being inspected or
processed by U.S. Customs, in accordance with Public Law 98-673
or otherwise, will be assessed a usage fee in the amount of $7.50
per vehicle, which shall be collected by the Seaport Department.

28A-9.5. Allocation of portion of seaport collected user fees to
auto theft task force to enhance support security operations. Two
dollars and fifty cents ($2.50) of every seven dollars and fifty cents
($7.50) collected by the seaport pursuant to section 28A-9.4 of this

CAWINDOWS\ TEMPS 2\426.5AM

3¢
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 49 of 61
Amended
Agenda Item No. 4(G)
Page No. 33

chapter shall be allocated to the Dade County Multi-Agency Auto
Theft Task Force for purposes of enhancing security at, and
interdicting the flow of stolen motor vehicles through the Port of

Sec. 28A-10. Port watchmen, private security personnel.

(a) All port users shall furnish their own port watchmen or
security personnel when they have, within the port, freight
or other personal property which is described in Section
28A-9(c).

(b) All watchmen and security personnel employed by users of
the port must comply with the provisions of Chapter 493,
Florida Statutes.

(c) Any person who intends to utilize watchmen or security
personnel must give advance notification of such intended
use to the Metro-Dade Police Department and the Director
or his designee.

(d) No person who has knowledge of the utilization of
watchmen or special security personnel by any port user or
person shail reveal the location or place of employment
thereof within the port except to an authorized
representative of the port or any State or federal law
enforcement agency.

Sec. 28A-11. Fees.

The fee schedule for all licenses, permits and identification
cards required by Chapter 28A shall be set and established by an
administrative order of the County Manager and approved by the
Board of County Commissioners; provided, however, that fees for
the issuance of permits, identification cards and decals (other than
replacements for such lost items) required for persons, vehicles and
motor vehicles pursuant to Sections 28A-4 and 28A-5 shall not

\ exceed >>two<<[[ene]] dollar>>s<< ($>>2<<{[4]].00); and
provided further that such >>two<<([ere]]  dollar>>s<<
(S[[4]}>>2<<.00) issuance fee shall not preclude the port from
imposing additional fees for the privilege of doing business on the
port, as established separately in the Port of Miami Terminal Tanff-

CAWINDOWS\TEMP3 2426. SAM

35
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 50 of 61

Amended
Agenda Item No. 4(G)
Page No. 34

Sec. 28A-12. Prohibited conduct.

>>28A-12.1, <<It shall be a violation of this chapter for any person
to remain in or on any public area, place or facility at the port, in
such a manner as to hinder or impede the passage of pedestrians or
vehicles.

>>28A-12.2. If any holder of a stevedore license or any other
license _or permit, or any officer, stockholder_of greater than a
twenty percent share, or member thereof. is convicted of a felony or
against whom a finding of guilt _has been entered in a felony case,
after the issuance of such permit or license, such permit or license
shall be immediately rescinded.

Sec. 28A-13. Personal Conduct.

28A-13.1. Handbills.

(a) No person shall distribute, exhibit or post any commercial
handbills. circulars, leaflets of similar material on Port

property.

(b) No _ person shall throw any handbills, circulars, leaflets or
similar material onto the Port, Port roads, rights-of-way,
streets or sidewalks.

 

* (c) Except _as_may be permitted pursuant to subsection
28A-13.2 hereof, distribution of non-commercial handbills,
circulars, leaflets or similar material may be conducted only

upon Port public roads, rights-of-way, streets Or sidewalks,
in accordance with reasonable procedures established by the
Department, ,

28A-13.2. Solicitation of contributions and distribution of
materials,

(a) No person shall solicit _alms_or contributions of money or
other articles of value, for religious, charitable or any other
purpose, and receive money or _other_articles of value,
whether _in the form of cash, checks, credit or debit
vouchers or any other form of negotiable instrument, in the

CAWINDOWS\TE MP3 2\626.SAM

30
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 51 of 61

Amended
Agenda Item No. 4(G)
Page No. 35

public areas of the Port. No person shall conduct or

participate in any speechmaking, distributing of pamphlets
books or other_written_or graphic materials upon Port
property or within its facilities without having delivered a
written notice to the Department of their intent to do so at
least_five (5) working days prior thereto so that the
Department may be fully informed of the activity proposed
and take adequate precautions to protect the public health,
safety and order, and to assure the efficient and orderly use
of Port property for its primary purpose and function, and
to assure equal opportunity for the freedom of expression of

others.

 

(b) The written notice required herein shall state:

Q) The full name, address (and mailing address if
different), telephone number of the person furnishing
the notice, and, if an organization, the name, address
and telephone number of a responsible local officer

thereof and the title of such officer.

(2) The purpose or subject of the proposed activity and
a description of the means and methods intended to
be used.in conducting the same.

G3) The date, hours and port facility desired for the

proposed activity and the maximum number of
persons proposing to participate therein at any one
time, together with a form of identification card,
authenticated copies of which shail be displayed on
the outer clothing of each individual participating in
the particular activity proposed. Such identification
cards_ shall contain the name of the organization
furnishing the notice, the legal name of the individual

bearing the card, the signature and title of the official
of such organization and the date issued.

(c) To the extent permitted by law, the Director shall have the
authority to prescribe from time to time content neutral
restrictions applicable to First Amendment activities at the

Port. Such restrictions shail be subject to the requirements

CAWINDOWS\TEMP32\426. SAM

Ws
™S
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 52 of 61

Amended
Agenda Item No. 4(G)
Page No. 36

of subsection (d) and may include, but not be limited to.

identifying specific locations of First Amendment zones on
Port property, limiting the number of persons permitted in

such zones, and providing a method for resolving conflicting
requests for use of First Amendment zones.

(d) All restrictions prescribed by the Director shall be
reasonable and appropriate, and made only after a finding by
the Director that the restrictions are necessary to avoid
injury, or the likelihood of injury, to persons or property, or
to_assure the safe and orderly use of Port facilities by the
public.

(e) Persons having given such written notice to the Director as
provided_in Section 28A-13.2(a) shall be permitted to
conduct their activities in or upon the public areas of the
Port, subject only to the restrictions identified by the
Director in a written response sent to the applicant, Such
response shall be sent within five (5) days of the Director's

receipt of the applicant's notice.

(f) If the Director notifies the applicant that their application is
denied, the County Attomey's office may file an appropriate
action in a court of competent jurisdiction and venue for a
judicial determination as to whether the proposed activity
described in the complaint may be prohibited, naming the
applicant as a party defendant.

(g) No person, while engaging in the activities provided for
herein, shall seek to delay a person from whom a donation
or contribution is sought, or to obstruct, or unreasonably
interfere with access to or egress from any cruiseline,
concession or washroom facilities or premises, including,
but_not limited to, passenger terminals, escalators and
elevators, nor shall such person in any manner _assail,
coerce, threaten _or physically disturb any member of the
public, County, cruiseline_or concession employee or_any
other person for any reason. The activities provided for
herein shail not intrude upon or take place in any location or

area reserved or zoned for a particular use, including, but
not limited to, washrooms, offices, seating areas, baggage

 

CAWINDOWS\TEMPS2\426 SAM
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 53 of 61
Amended
Agenda Item No. 4(G)
Page No. 37

claim areas, ticketing areas, restaurants, lounges
concessions, areas devoted to business enterprises and
passenger concourses and gate holding areas. No person
shall engage in the activity hereunder without first

identifying the organization he or she represents_in
connection with such prospective donation.

(h) No person, while engaging in the activities provided for
herein, shall affix any matter, written or graphic, to any Port
structure or facility, nor shall any such matter be left
unattended at any location at the Port except in baggage
lockers for_a period not exceeding twenty-four (24) hours
upon payment of the prevailing fee.

(i) The Director is empowered to wholly or partially restrict
the activities provided for herein in the event of
emergencies, including but not limited to, strikes affecting
the operation of the Port, shipping or traffic accidents, riots
or_civil_ commotion, power failures, hurricanes, or other

conditions tending to disrupt the normal operation of the
Port.

@ All persons engaged in activities permitted under Section
28A-13.2 of the Code shall wear and display identification,
approved by the Department, identifying such person and
the organization such person represents. In no case shall any
person in any activity under this section attempt to identify

. himself or herself as a representative of the County of the
Department.

28A-13.3. Preservation of property. No person shall:

(a) Destroy, injure, deface, disturb, or tamper with any building,

sign, equipment, fixture, marker, or any other structure or
property on the Port:

(b) —Injure, deface, remove, destroy, or disturb the trees,
flowers, shrubs, or other vegetation on the Port:

(c) Walk, drive or park on a posted lawn or seeded area of the
Port: or

 

CAWINDOWS\TE MP3 2\426.SAM
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 54 of 61
Amended

Agenda Item No. 4(G)
Page No. 38

(d) Willfully abandon any personal property on the Port.

 

Any person who causes damage to Port property shall be held liable
for such damage.

28A-13.4. Entry to restricted areas. No person shall enter any
restricted area of a Port except:

(a) Persons who enter_in accordance with security clearance
pursuant to the security program established or authorized
by the Department, or:

(b) Persons assigned duties on _a restricted area of the Port

bearing proper identification as approved and required
herein, or:

(c) Persons who are employees or authorized representatives of
the Department or other federal, State or local
governmental department or agency, having proper business
thereon and bearing proper identification as approved and
required herein.

28A-13.5. Coin-and currency-operated machines, No person shall
use or attempt to use a coin- or currency-operated machine without
first depositing the coins or currency required by the instructions on

the machine .

 

28A-13.6. Use and enjoyment of Fort premises.

(a) Not to be obstructed Save and except in the area of cargo
Operations and in restricted areas, no person(s) singly or in

association with others shall by his or their conduct or by

congregating with others seek to obstruct, delay or
unreasonably interfere with other n_or_ persons

([femthe]] use and enjoyment of the Port and its facilities
or_any part thereof or seek to obstruct, delay, or
unreasonably interfere with the passage of any other person
or persons from place to place, or through entrances, exits
or passageways on the Port.

CAWINDOWS\TEMP3 TATE SAM

40
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 55 of 61
Amended
Agenda Item No. 4(G)
Page No. 39

(b) Vehicles. No person shall use, ride or drive a unicycle, a
go-cart, roller skates, roller blades, skateboards or similar
vehicle on or at the Port, and no person shall drive a motor
vehicle or ride a bicycle upon any area of the Port made
available to the public other than on roads, walks, or
rights-of-way provided for such purpose.

(c) No person, unless authorized by lease, Operational
Directive, or otherwise, shall use, operate, drive or ride a

boat, canoe, jet-skis, water scooter or other water vehicle
whether motorized or not within 100 feet of any Seaport
bulkhead line, within 200 feet of any Seaport berthing area

occupied by a vessel, or in any manner that constitutes a
hazard to safe navigation. Excluded from this restriction are

water vehicles used by a governmental agency for official
purposes in such waterway or body of water.

(d) No person, singly or in association with others, shall play
any electronic or musical instrument, machine or other
device in any public area of any cruise terminal building or
on_the cruise terminal curbside in such a manner or so
loudly as to prevent the quiet enjoyment of others or to
cause_others not to be able to reasonably hear private
conversations and public address announcements, except as
part of a musical performance authorized in writing by the

Department.
. 28A-13.7. Picketing,

(a) Lawful picketing, marching or demonstrations on the Port
may be conducted only upon Port public roads,

rights-of-way, streets. or_ sidewalks, in accordance with
reasonable procedures established by the Department.

(b) It shall be unlawful to picket, march or demonstrate within a
cruise terminal building structure at the Seaport of Miami.

(c) Chapter 28A shall not be construed to limit in any way any
rights granted or derived from any other statute or any law
guaranteeing employees the right to organize in labor

organizations, bargain collectively themselves or. throu
labor organizations or other representatives of their choice.

CAWINDOWS\TE MP3 2\426. SAM

4/
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 56 of 61

Amended
Agenda [tem No. 4(G)
Page No. 40

28A-13.8. Prohibited conduct. It shall be unlawful for any person
to remain in or on any area, place or facility at the Port, unless such
person has_a_bona fide purpose for being in such area, place or
facility. directly related to the normal and regular usage of such
area, place or facility, in such a manner as to hinder or impede the
orderly passage in or through or the normal or customary use of
such area, place or facility by persons or vehicles entitled to such

assage Or USE.

28A-13.9, Sanitation.

 

(a) No person shall dispose of garbage, papers, refuse or other
forms of trash, including cigarettes, cigars and matches,
except in receptacles provided for such purpose.

(b) No person shall dump or dispose of any fill, building
material or any other material on the Port, except with por

approval of the Department and in such areas and under
such conditions as are specifically designated.

(c) No person shall use_a comfort station or rest room, toilet or
lavatory facility other than in a clean and sanitary manner.

(d) No person shall deposit, blow, or spread any bodily

discharge on the ground or pavement anywhere on the Port
or on any floor, wall, partition, furniture, or any other part

of a public comfort station, terminal building, or other
building on the Port, other than directly into a_ fixture

provided for that purpose.

(e) No-person shall place. any foreign object in any plumbing
fixture of a comfort station, terminal building, or other

building on the Port.

28A-13.10, /ntoxication.

(a) No_person_shall_drink_any intoxicating liquors upon any
portion of the Port open to the public, except in_special

service lounges or club rooms properly designated by the
Director or by lease for on-premises liquor consumption.

CAWINDOWS\TEMP32\426.SAM

UF
_ Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 57 of 61

Amended
Agenda Item No. 4(G)
Page No. 41

(b) No person under the influence of intoxicating liquors or

drugs shall operate any motor vehicle on the Port.

28A-13.11. Drugs. No person, other than a duly qualified
physician, a certified emergency medical technician (under_the
direction of a duly qualified physician or as provided by law), a
registered nurse, or a duly qualified pharmacist shall, while on the
Port, prescribe, dispense, give away, or administer any controlled
substance as defined from time to time by state or federal law to
another or have such a drug in his possession, with intent to
prescribe, dispense, sell, give away, or administer it to another.
Such persons shall not be authorized to offer to sell or to sell such

drugs except pursuant to a permit, license or agreement issued by
the County.

28A-13.12. Animals.

(a) No_person, other than a person who is blind, visually
impaired or otherwise disabled with a seeing eye or other
specially trained dog, or who is accompanied by a trained
dog used for law enforcement purposes under the control of
an authorized law enforcement officer, shall enter the cruise
terminal building with a domestic animal, unless such animal
is to be or has been transported by sea and is kept restrained
by_a leash or otherwise confined so as to be completely

under control.

 

"  {b) ~—- No person except law enforcement_personnel_ using a dog
trained for law enforcement purposes, shall enter any part of
the Port, with a domestic animal, unless such animal is kept
restrained by a leash or is so confined as to be completely
under_control, whether, or not_such animal is to be or has
been transported by sea travel. No person shall bring, carry

or deliver any wild animal under his control or custody into
the cruise terminal buildings of the Port, without having first

obtained a permit from the Department.

 

(c) Except for animals that are to be or have been transported
by sea and are properly confined for sea travel, no person
shall permit any wild animal under his control or custody to

enter the Port.

CAWINDOWS\TEMP3 2\426. SAM

42
Case 1:98-cv-00014-WPD Document1 Entered on FLSD Docket 01/06/1998 Page 58 of 61

Amended
Agenda Item No. 4(G)
Page No. 42

(d) No person other than in the conduct of an official act shall

hunt, pursue, trap, catch, injure, or kill any animal on the
Port.

(e) No person shall ride horseback on the Port without _pnor
authorization of the Department.

(f) No person shall permit, either willfully or through failure to
exercise due care or control, any animal to urinate or
defecate upon the sidewalks of the Port or upon the floor of
the terminal building or any other building used in common

by the public.

(g) No_person shall feed or do any other act to encourage the

congregation of birds or other animals on or in the vicinity
of the Port.

28A-13.13. Lost articles. Any person finding lost articles at the
Port shail immediately deposit them with an authorized

representative of the Department. Articles unclaimed by their
proper owner within three (3) months thereafter shall, upon
request, be turned over to the finder or otherwise be lawfully
disposed_of, in accordance with applicable law or Operational
Directive. Nothing in this paragraph shall be construed to deny the
tight of scheduled shipping or other Port.tenants to maintain "lost
and found" services for property of their passengers, customers,
invitees or employees as permitted by law. Articles to which the
owner or finder is not entitled to lawful possession shall be forfeited
to the Department for disposal in accordance with the provisions of
applicable law or County administrative order.

28A-13.14. False reports or threats. No person shall make any
threat involving shipping or any facilities or operations at or on the

Port or false report regarding the conduct of operations at or use of
the Port

 

28A-13.15. Forgery and counterfeit. No person _shall_make,
possess, use, offer for sale, sell, barter, exchange, pass, or deliver
any forged, counterfeit, or falsely altered pass, permit, identification

badge, certificate, placard, sign, or other authorization purporting
to_ be issued by or on behalf of the Department, nor shail any

CAWINDOWS\TEMPI2M2ESAM

gy
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Dackst 01/06/1998 Page 59 of 61

Agenda Item No. 4(G)
Page No. 43

information electronically or magnetically encoded thereon be
knowingly altered or erased. <<

Section 2. If any section, subsection, sentence, clause or provision of this ordinance is

held invalid, the remainder of this ordinance shall not be affected by such invalidity.

Section 3. It is the intention of the Board of County Commissioners, and it is hereby
ordained that the provisions of this ordinance, including any sunset provision, shall become and be
made a part of the Code of Metropolitan Dade County, Florida. The sections of this ordinance
may be renumbered or relettered to accomplish such intention, and the word "ordinance" may be

changed to "section," "article," or other appropniate word.

Section 4. This ordinance shall become effective ten (10) days after the date of
enactment unless vetoed by the Mayor, and if vetoed, shall become effective only upon an

overnde by this Board.

Section 5. This ordinance does not contain a sunset provision.

PASSED AND ADOPTED:

Approved by County Attorney as
to form and legal sufficiency:

t

Prepared by: IW

ePonsored by Commissioner Bruce C. Kaplan, Dr. Miriam Alonso and Commissioner Javier D.
outo

CADOCSIORDI N426.S4AM

LL
Case 1:98-cv-00014-WPD Document 1 Entered on FLSD Docket 01/06/1998 Page 60 of 61

Amended
Agenda Item No. 4(G)
Page No. 43

information electronically or magnetically encoded thereon _be
knowingly altered or erased.<<

Section 2. If any section, subsection, sentence, clause or provision of this ordinance is

held invalid, the remainder of this ordinance shall not be affected by such invalidity.

Section 3. It is the intention of the Board of County Commissioners, and it is hereby
ordained that the provisions of this ordinance, including any sunset provision, shall become and be
made a part of the Code of Metropolitan Dade County, Florida. The sections of this ordinance
may be renumbered or relettered to accomplish such intention, and the word "ordinance" may be

changed to “section,” “article,” or other appropriate word.

Section 4. This ordinance shall become effective ten (10) days after the date of
enactment unless vetoed by the Mayor, and if vetoed, shall become effective only upon an

override by this Board.

Settion 5. This ordinance does not contain a sunset provision.

a ANF

Fe? 3 1997.

e
vd

PASSED AND ADOPTED:

Approved by County Attorney as
to form and legal sufficiency: RAG

Prepared by: VW \

Sponsored by Commissioner Bruce C. Kaplan, Dr. Miriam Alonso and Commissioner Javier D.
outo

CADOCSIORDI2\26.SAM

4x
Case 1:98-cv-00014-WPD Document1 Entered on FLSD oQ- /O@?1998 Ob A

CIVIL COVER SHEET LIV-ATKINS |

. « JG-44 civil cover sheet and the information contained herein neither repiace nor supplement the filing and service of pleading or other papers as required by
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of
the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

| (a) PLAINTIFFS DEFENDANTS MAGISTRATE JUDGE
INTEC iL LO NG SNORM MES MIAMI-DADE Cov i A PHNSON

Aasecinon , LCL IFle

o

A
(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF 1QMi|- DAO’ | COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT MM I- LAGE

(EXCEPT IN U.S. PLAINTIFG CASES) (IN U.S. PLAINTIFF CASES ONLY)

Se a . } ; RY NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
- Ad! icc OC) i /OC”AL / A \ TRACT OF LAND INVOLVED

 

 

 
   
 
  
  
 
  
 
 

 

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN) DO ipy B.C,
MeL SL ES - JESS MecAR RY VIAME
SSoQ Garth) Oe Steg ASST CcunT7 ATT
OK OAS eS 2 33% pt St ZB
- CQ Ry GASES, TE 33) st aah fe 3 i235 AN 5 1998

 

“{ CLE COUNTY WHERE ACTION AROSE:
ADE) MONROE, BROWARD>PALM BEACH, MARTIN, ST. LUCIE, INDIAN RIVER, OK

   
 

   

 

  
  

 

li. BASIS. JURISDICTION ' lil, CITIZENSHIP OF PRINCIPAL PARTIES @D. OF FIA MIAME.
AN X ONE BOX ONLY) ) (For Diversity Case Only) PTE DEF COX TOR DEFENDANT) PTF IFF ANQ IONE
( 1.U.S. Goverment “SRY 3 FederarGuestion Citizen of This State ait Oo 1 Incorporated of Principal Place of og 4 Q4
Plaintitt 7 40'S Government Nota Party) Business in Thie State
Citizen of Another State Qa 2 QO 2 Incorporated and Principal Piace of Q 5 Q 5
O 2.U.S. Government Cl 4. Diversay Business in Another State
Defendant (Indicate Clizenship of Parties i tem ii) Citizen or Subject of a ignContry OO 3 Qa ign Nadicn
IV. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.

DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IVa. days estimated (for both sides) to try entire case
V. NATURE OF SUIT (PLACE AN X IN ONE BOX ONLY)
A CONTACT A TORTS 8 Fone A BANKRUPTCY A OTHER STATUS
2 110 Insurance PERSONAL INJURY O 610 Agriculture (0 422 Appeal 28 USC 158 D0 400 States Reappointment
(120 Marine © 310 Airpiane CO 362 Persona! tnjury-Med Maipractice | 620 Other Food & Orug ( 423 Wathorawal 28 USC 157 1 410 Antitrust
C130 Miler Act C1315 Aipptane Product Linbalty [5 265 Pernonal inury-Procuct Liabiaty | £25 Drug Related Seine A PROPERTY RIGHTS | 430 Ganks end Banking
(140 Negotiable instrument C 320 Assault, Libel & Slander O 368 aoe Ear oeoaty CO 630 Liquor Laws C0 820 Copyrights LO 450 Commerce/ICC Rates/etc. 8
C180 ee eigen | C2 330 Federal Employers’ Lisbilty PERSONAL PROPERTY =D) 640 A.A. & Truck (0 890 Patent (0 480 Deportation
. \ ; ( 470 Racksteer influenced and
0 151 Medicare Act (1 340 Marine 0 370 Other Freud CO 650 Airline Rega 0 840 Trademark Comat ©
QO 182, Rocovery Of Osta eran) B (0 345 Marine Product Liabiity C0 371 Trath in Lending & (0 660 Occupational SatetytHealth B SOCIALSECURITY  [C 810 Selectne Service
Oe Secale | 2s0Maer vate oe Sipe Ouran OD sso oe O oer MA C98 0 250 eeumeconneenerae®
1 160 Stockhokder's Suits 1 255 Motor Vehicle Product Liabimty 17 986 Property Darrege A LABOR C1 262 tack Lung (923) (678 Customer Chasenge 12U903410
(190 Other Contract CO 360 Other Personal injury O 710 Fair Labor Standards Act ( 963 DIWC/DIWW (408(g)) O 901 Agricultural Acts
(1 _195 Contract Product tisbility CO 720 Labor Management Retations @ |) 864 SSID Thte XVI ( 892 Economic Stabilization Act
A REAL PROPERTY A CIVIL RIGHTS B PRISONER PETITIONS |U! 72> Labo Management |) 6s RS (606(a)
210 Land Condemnation O 441 Voting (1 510 Motions to Vacate Sentence C 740 Radway Labor Act A FEDERAL TAX SYrTS,
220 Foreclosure B (0 442 Employment Habeas Corpus (1-790 Other Labor Litigation 870 Taxes (U.S. Paina
C1 230 Rent Lease & Ejectment 0 443 Housing/Accommodations (1) 530 General * CO 791 Employes Ret. inc. Securty Act 8 |) 871 1F1S-Thied Party 26 7e0@
240 Torts to Land CO 444 Wetlare (0 535 Death Penalty se
C0 245 Tort Product Linbslity CO 440 Other Civil Rights 540 Mandamus & Other * ~
290 AR Other Real Property Ci 550 Civil Righes
VLORIGIN - \ (PLACE AN X IN ONE BOX ONLY)
O11. Original i “Zz 2. Rempved From C3. Remanded from Ol 4 Retted C6. Mutidietrict Litigation
Proceeding _ 5 Stale Court 16 Court 5. Transterred from
VIL. REQUESTED~.___ cuseX ir tisisa CLASS ACTION DEMAND §$ Qo ERE TES only Wt demrancied
IN COMPLAINT Ci unneneace 23 JURY DEMAND:
Vill. RELATED (See Instructions):
CASE(S) IF ANY Ao KA JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
ne ne er, a “a — nz, 45
j= TS Cpa xb OAT LGE 2S, 4 5
UNITED STATES DISTRICT COURT / , b SZ DEC U7) © Amount: 7A C7 .67C/
SF 1-2 FOR OFFICE USE ONLY: Receipt No. i
REV. 9/94 MAfp:

Date Paid: 2/ //” / 4
